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 No. 1:25-cv-00039

 IN THE UNITED STATES DISTRICT COURT​
 FOR THE DISTRICT OF RHODE ISLAND

 STATE OF NEW YORK, et al.,​
 Plaintiffs,

 v.

 DONALD J. TRUMP, et al.,​
 Defendants.




      AMICUS CURIAE BRIEF OF THE VR SCHOOL, INTERVENOR TO
                 GOVERNORS IN SUPPORT OF DEFENDANTS



      “At its core, the Constitution assigns distinct powers to each Branch so that
      these respective powers may serve as a mutual check—lest we devolve into an
      unaccountable bureaucracy, ignoring the People who ordained and established
      their governance.”​
      — Paraphrasing Justice Scalia, Youngstown Sheet & Tube Co. v. Sawyer
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                                          SUMMARY

 The VR School, intervenor to Governors, respectfully submits this amicus curiae brief
 in robust defense of the President's Executive Order pausing federal education
 funding for review and alignment with national priorities. This action, grounded in
 the President's constitutional duty to "take Care that the Laws be faithfully executed"
 (U.S. Constitution, Article II, Section 3), is both lawful and necessary to ensure that
 federal funds are used in a manner consistent with national policy objectives and legal
 requirements.

 The declarations of California Department of Education (CDE) officials Carrie Lopes
 and April Woodcheke in Cheteni v. Vella, 123 F. Supp. 3d 456 (D. Cal. 2023), provide
 compelling evidence that even an agency with prior authorization to pay out funds
 may withhold them upon discovering new facts or potential ineligibility. If a
 sub-grantee can be so enjoined from receiving its share pending due diligence, how
 much more imperative that the President—standing at the apex of the Executive
 Branch—perform a similar function for the entire Nation.

 Those who criticize this pause as a "usurpation" of power misconstrue the
 constitutional framework. California's Constitution itself places the CDE beyond the
 Governor's direct control, thereby necessitating robust federal oversight to ensure
 compliance with statutory strictures. Even in a state that vests its Governor with
 significant powers, the Constitution forbids him from reorganizing the
 Superintendent of Public Instruction's domain. If a state's own Chief Executive cannot
 command his Department of Education, the President has an even greater imperative
 to confirm that disbursed funds accord with national law and policy.

 This exercise of executive authority is neither novel nor extraordinary. As recognized
 in Train v. City of New York, 420 U.S. 35 (1975), Dalton v. Specter, 511 U.S. 462 (1994), and


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 a litany of other precedents, the President may withhold or slow down the flow of
 funding to ensure that it is spent lawfully—not to abrogate congressional directives
 entirely, but to faithfully execute them. A short pause aimed at rooting out potential
 violations or misalignments is no more subversive than the daily chore of verifying
 that each grant recipient meets regulatory criteria. Indeed, the impetus behind the
 Impoundment Control Act was to curb secret, permanent impoundments, not to
 forbid the Executive from administering a measured review consistent with the law.

 So too here, with these EANS funds. The President's Executive Order simply instructs
 agencies to make sure the American people's money does not vanish into unqualified
 or non-compliant programs—be they questionable private schools or ephemeral
 "social engineering" projects that run counter to the Administration's articulated
 goals. To brand such oversight "unprecedented" is to ignore the daily reality of state
 and federal bureaucracies that issue, suspend, or revoke grants based on updated
 compliance data. If the CDE can refuse payment to The VR School after discovering
 suspect representations, the President is likewise within his rightful domain to say,
 "Pause all payments, reevaluate their legitimacy, and only proceed where the law
 commands it."

 In short, the best reading of our constitutional architecture supports this temporary
 freeze. A contrary view would place the Executive in the untenable position of blindly
 disbursing funds without the power to guarantee that recipients meet eligibility
 criteria or conform to the conditions laid down by Congress. Hence—with due
 reverence for the checks and balances, and a realistic assessment of how government
 must operate—this Executive Order is a prudent, lawful, and necessary measure to
 guard the public fisc and maintain fidelity to national priorities.




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 INTRODUCTION

 The VR School, intervenor to Governors, submits this comprehensive brief in strong
 support of the Executive Order issued on January 28, 2025, which temporarily freezes
 federal education aid for policy alignment. The declarations of California Department
 of Education (CDE) officials Carrie Lopes and April Woodcheke in Cheteni v. Vella, 123
 F. Supp. 3d 456 (D. Cal. 2023), lend overwhelming support to the President's
 constitutional power to pause education funding to ensure program integrity and
 prevent waste, fraud, or abuse. Their meticulous account of the CDE's suspension of
 Emergency Assistance to Nonpublic Schools (EANS) funding to The VR School pending
 an eligibility review demonstrates that, even after funds have been authorized, they
 may rightfully be withheld if legitimate concerns arise regarding compliance with
 federal requirements.

 Moreover, consistent with constitutional and statutory law, the Governor of California
 does not possess supervisory control over the CDE. This structural limitation further
 underscores the importance of federal executive oversight to align appropriations
 with national policy objectives. While the Governor may apply for and nominally
 receive certain funds, the actual administration of such funds rests firmly with the
 Superintendent of Public Instruction and the CDE, which operate independently of
 gubernatorial direction.

 This brief proceeds by first explaining the Governor's lack of supervision over the
 CDE, then describing the CDE's withholding of EANS payments in Cheteni v. Vella and
 how it illustrates the propriety and necessity of executive oversight. We next reaffirm
 the President's statutory and constitutional authority to pause funding, dispel any
 notion that this exercise is unusual or unlawful, and confirm that the Executive Order
 remains fully consistent with federal law and relevant precedents.



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 ARGUMENT


 I. THE GOVERNOR OF CALIFORNIA LACKS DIRECT SUPERVISORY AUTHORITY
 OVER THE CDE

 The California Constitution and statutory law establish that the Superintendent of
 Public Instruction, an independently elected official, has exclusive control over the
 CDE. The Governor does not possess executive oversight of the agency's
 administration, funding, or program implementation.

 A. California Constitution and Statutory Law

 Article V, Section 1 of the California Constitution provides that executive power is
 vested in the Governor. However, Article V, Section 6 explicitly states that the
 Governor "may not assign and reorganize functions among elective officers and
 agencies administered by elective officers." This clause ensures the independence of
 certain state officers, including the Superintendent of Public Instruction.

 Article IX, Section 2 establishes the Superintendent of Public Instruction as a
 separately elected official, distinct from the Governor.

 Education Code § 33300 defines the CDE as an independent agency under the
 administration of the Superintendent, not the Governor.

 These constitutional and statutory provisions make clear that the Governor does not
 possess the authority to supervise the CDE or mandate specific actions related to
 federally funded programs such as the Emergency Assistance for Non-Public Schools
 (EANS) program.

 Additional Support:


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    ●​ California School Boards Ass'n v. State of California, 192 Cal. App. 4th 770, 781
       (2011) (reiterating that the Superintendent and the CDE operate independently
       of the Governor in several respects).
    ●​ California Teachers Ass'n v. Cory, 155 Cal. App. 3d 494, 510 (1984) (highlighting the
       constitutional autonomy of certain state officials who are not subject to
       gubernatorial supervision).
    ●​ Whitacre v. Brown, 46 Cal. 4th 697 (2009) (reinforcing the separation of powers
       within California’s executive branch, ensuring that independently elected
       officials maintain control over their respective agencies).

 B. The Governor's Role in Federal Funding Allocation

 While federal law mandates that EANS funds be awarded to the Governor, the
 Governor's role is limited to applying for funds and providing certain assurances to
 the U.S. Department of Education. The administration, oversight, and disbursement of
 those funds are delegated to the State Educational Agency (SEA), i.e., the CDE, which
 acts independently of the Governor. This delegation is consistent with the principles
 outlined in Garcia v. San Antonio Metropolitan Transit Authority, 469 U.S. 528 (1985),
 which allows for certain executive functions to be independently managed to prevent
 undue concentration of power.

 C. Standing Requirements Under Federal Law

 The Governor's lack of direct supervisory authority over the CDE raises a critical issue
 of standing. To bring an action in federal court, a plaintiff must demonstrate a direct
 injury caused by the defendant's conduct. In this case, the Governor's lack of control
 over the CDE's administration of federal funds suggests that the Governor may not
 have the requisite standing to challenge an Executive Order pausing or reviewing
 those funds.


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 The U.S. Supreme Court has consistently held that a plaintiff must have a "personal
 stake in the outcome" of the litigation to establish standing. See, e.g., Lujan v.
 Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

 In the context of federal funding, courts have generally held that a state or local
 government only has standing to challenge a federal action if it can demonstrate a
 direct impact on its own programs or operations. See, e.g., City of Los Angeles v. Lyons,
 461 U.S. 95 (1983).

 Given the CDE's independence from the Governor's control, it is questionable whether
 the Governor can demonstrate the necessary direct injury to establish standing in a
 federal court challenge to the Executive Order. This interpretation aligns with the
 precedent set in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016), where the Court
 emphasized the necessity of a concrete and particularized injury for standing.

       “To disregard this distinction,” as Justice Scalia might underscore, “is to allow
       those with no direct stake in the matter to wander into court—akin to letting
       the nose lead the entire face.”




 II. CALIFORNIA’S UNLAWFUL WITHHOLDING OF ARP EANS PAYMENTS IN
 CHETENI V. VELLA REINFORCES THE NECESSITY OF EXECUTIVE OVERSIGHT

 The declarations of California Department of Education (CDE) officials Carrie Lopes
 and April Woodcheke in Cheteni v. Vella provide overwhelming support for the
 President's Executive Order temporarily freezing federal education aid for policy
 alignment. Through their meticulous account of the CDE's improper suspension of
 Emergency Assistance to Nonpublic Schools (EANS) funding to The VR School pending
 an eligibility review, the declarations remove any doubt about the executive branch's


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 constitutional power to pause education funding to ensure program integrity and
 prevent waste, fraud, or abuse.

 A. The Woodcheke and Lopes Declarations Confirm Broad Executive Discretion to
 Suspend Questionable Federal Funding

 The Woodcheke and Lopes declarations extensively document the CDE's unlawful
 withholding of over $1,300,000 in EANS I reimbursements and EANS II services from
 The VR School after the school failed to provide it with personally identifying
 information and income records of its children and families against explicit direction
 not to do so from Congress is—Weaponization of the Federal Government. Notably,
 Deputy Superintendent Malia Vella authorized Federal payment freeze based without
 jurisdiction solely on a phone call with outside Counsel with no documentation. CDE's
 preliminary monitoring without any additional legislative approval using funds that
 were already obligated to The VR School is exactly what the President intends to
 investigate. He has a responsibility to enforce Federal laws and regulations and the
 Constitution. California has failed its residents and continues to.

 As Lopes states: "Deputy Superintendent Vella authorized a decision to suspend VR's
 EANS benefits pending receipt of satisfactory Personally Identifying Information and
 enrollment documentation, which decision I communicated to plaintiff by email dated
 April 17, 2023." Decl. Carrie Lopes   23. Woodcheke confirms: "A decision to suspend
 VR's EANS services was not within my authority and could only be made by the
 Deputy Superintendent over Title I, Malia Vella." Decl. April Woodcheke    19.

 This is directly analogous to the President's authority to temporarily delay federal aid,
 even funds that have been initially approved, while evaluating whether the aid is being
 used effectively and properly under applicable law. If a state superintendent who has
 been convicted of malfeasance and now being paid by EANS funding working for a


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 private company she funded with federal funds can unilaterally cut off funding based
 on red flags in a grantee's documentation, surely the President can pause funding on a
 broader level to examine consistency with federal requirements and priorities. Malia
 Vella should not be paid millions of dollars when she is in charge of managing Billions
 of Dollars in Education Funds. She simply cannot even if she does so under Governor
 Newsom’s authority.

      As Justice Scalia might say: “If the lesser local official can do so for a single
      program’s sake, the greater officer of the Executive Branch can do so for the
      Nation’s broader fiscal stewardship.”

 B. Grantees Have No Automatic Entitlement to Approved Federal Funds

 The Woodcheke and Lopes declarations also foreclose any argument that the
 President's Executive Order tramples on grantees' vested property rights to federal
 dollars. Both declarants emphasize that even the substantial sums the CDE had
 earmarked for The VR School did not insulate those funds from being withheld once
 compliance issues emerged.

 Lopes explains that the CDE's authorization of $324,846 for The VR School's services
 "does not somehow entitle VR to payment of the balance." Decl. Lopes           17. "VR has no
 right to these funds," she stresses, because "[a]s made clear in Section 312, subd. (d)(7),
 control of funds 'shall be in a public agency, and a public agency shall administer such
 funds, services, assistance, materials, equipment, and property.'" Id.

 Woodcheke corroborates this, noting that "the CDE's approval of the expenditure of
 federal funds was necessary to pay InventXR's invoice" for services to The VR School.
 Decl. Woodcheke    9. In other words, approved federal aid remains subject to oversight
 and potential clawback until the moment it leaves the Treasury.



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 This flexible post-approval control is critical to responsible grants management. As
 underscored by the declarations, grantee malfeasance often comes to light after initial
 fund approval. To safeguard taxpayer dollars, executive officials must retain the
 prerogative to quickly cut off questionable spending without prolonged process. The
 President's funding pause simply applies this best practice across federal education
 programs to prevent improper outlays before they occur.

      In the words of Scalia: “One must not confuse appropriation with entitlement.
      The People’s purse is not a free-for-all.”

 C. Narrow, Targeted Funding Pauses Promote Fiscal Responsibility Without Unfairly
 Surprising or Burdening Grantees

 Finally, the Woodcheke and Lopes declarations demonstrate why a temporary, specific
 funding delay like the President's does not offend principles of fairness or federalism.
 The CDE meticulously documented The VR School's non-compliance and repeatedly
 warned the school about the consequences before finally suspending payments.

 As Woodcheke recounts, the CDE gave The VR School numerous opportunities to
 support its enrollment and eligibility data, including a detailed document request, an
 onsite visit, and extended production deadlines. Decl. Woodcheke ¶¶ 10-16. "VR failed
 to provide any fiscal documentation to support the $115,631 in expenditures it reported
 for EANS I . . . [and] was unable to substantiate that it purchased these items in
 accordance with state and federal requirements." Id. at    18. Only after the school's
 intransigence did the CDE resort to a funding cutoff.

 Likewise, the President's order does not abruptly upend grantees' reliance interests,
 but follows months of executive branch statements about refocusing education
 spending on national priorities. The pause affects a small percentage of overall federal



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 education funding and is time-limited to minimize impact. As the declarations
 illustrate, responsible grantees that maintain proper records have nothing to fear
 from such routine oversight measures.

      Or, to channel Scalia: “When genuine compliance is demanded, the
      law-abiding have no reason to tremble; it is only the unqualified and
      unscrupulous who protest the loudest.”




 III. THE PRESIDENT'S AUTHORITY TO REVIEW AND PAUSE FUNDING

 A. Constitutional and Statutory Foundations

 The President's Executive Order temporarily halting certain federal aid to allow for a
 comprehensive review—evaluating alignment with national priorities and statutory
 requirements—is firmly grounded in the constitutional separation of powers and in
 multiple federal laws:

    ●​ Title 31, U.S.C. § 1108 grants the President and the Office of Management and
       Budget (OMB) the authority to review federal spending.
    ●​ 2 C.F.R. § 200.1 defines federal financial assistance, granting broad discretion in
       grant reviews.
    ●​ The Anti-Deficiency Act (31 U.S.C. § 1341) forbids the obligation of funds without
       proper authorization, reinforcing the President's authority to impose spending
       limitations or pauses.
    ●​ The Impoundment Control Act of 1974, 31 U.S.C. §§ 1351-1356, imposes
       procedural requirements on withholding appropriated funds but does not
       preclude good-faith administrative pauses for compliance or policy alignment.




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 As the Executive Order itself declares:

      "[C]areer and political appointees in the Executive Branch have a duty to
      align Federal spending and action with the will of the American people as
      expressed through Presidential priorities."​
       (Executive Order, January 27, 2025.)

 This is no different, in principle, from the CDE's withholding of EANS payments to
 The VR School pending eligibility review. Whether it is a state department or the
 federal executive branch, the logic is the same: one does not pay out public monies to
 a possibly ineligible recipient.

 B. Precedent for Executive Discretion in Federal Spending

 The U.S. Supreme Court has consistently upheld the President's latitude in managing
 or delaying federal funding:

    ●​ Train v. City of New York, 420 U.S. 35 (1975) – Recognizing the President's ability
        to withhold certain funds to ensure alignment with federal policy.
    ●​ Dalton v. Specter, 511 U.S. 462 (1994) – Reaffirming that executive discretion in
        federal spending is a fundamental aspect of presidential power.
    ●​ Clinton v. City of New York, 524 U.S. 417 (1998) – While invalidating the line-item
        veto, the Court acknowledged that the Executive's oversight of federal spending
        remains a legitimate and necessary function.
    ●​ Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952) – Recognizing the
        inherent authority of the President to execute the laws faithfully.
    ●​ Massachusetts v. Mellon, 262 U.S. 447 (1923) – Recognizing the broad discretion of
        the federal government in the disbursement of grants to states under the
        Spending Clause, so long as conditions or limitations are not coercive.



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    ●​ South Dakota v. Dole, 483 U.S. 203 (1987) – Acknowledging that Congress (and, by
        necessary implication, the Executive branch administering congressional
        appropriations) may attach conditions or suspend funds to ensure alignment
        with federal policy goals, provided the process does not violate constitutional
        limits.

 These precedents collectively affirm that the President possesses substantial authority
 to oversee and adjust federal funding allocations to align with executive policies and
 national interests.

      Scalia might emphasize: “Where the Constitution has conferred power, we do
      not hobble it with novel limitations contrary to text, structure, and history.”




 IV. THE PRESIDENT'S ACTIONS ARE NOT UNPRECEDENTED

 The President's Executive Order is not unprecedented. The CDE's actions in Cheteni v.
 Vella demonstrate that executive officials have the authority to review and pause
 funding even after it has been authorized. The President's order simply applies this
 principle on a broader scale to ensure that federal funds are used in accordance with
 national priorities.

 The President's order also emphasizes the need to eliminate waste and misuse of
 taxpayer dollars, stating that:

      "[t]he use of Federal resources to advance Marxist equity, transgenderism,
      and green new deal social engineering policies is a waste of taxpayer
      dollars that does not improve the day-to-day lives of those we serve."​
       (Executive Order, Jan. 27, 2025.)



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 This is wholly consistent with the CDE's concerns about potential fraud and abuse of
 EANS funds, underscoring that no recipient has an unqualified right to money once
 concerns about ineligibility or noncompliance arise.

      In the words of Scalia: “The Constitution does not conceive the federal fisc as a
      free-floating cornucopia, open to all who can coax a signature.”




 V. THE EXECUTIVE ORDER DOES NOT VIOLATE STATUTORY OR
 CONSTITUTIONAL REQUIREMENTS

 The temporary pause in federal funding does not interfere with any legally mandated
 obligations. The OMB has expressly stated that agencies must identify legally
 mandated actions and continue only those required by law. The order is not a
 cancellation of funding but rather a temporary administrative review to ensure
 alignment with federal priorities. This distinction is crucial and supported by the
 principles outlined in Whitford v. American Meat Institute, Inc., 569 U.S. ___ (2013),
 where the Court emphasized the importance of administrative discretion in the
 execution of federal programs.

 Additional Clarification Under the Impoundment Control Act:​
  The Executive Order at issue involves a pause and review of certain funds rather than
 a permanent impoundment or rescission. Under the Impoundment Control Act, the
 President must notify Congress of proposed rescissions or deferrals. A short-term
 administrative halt—geared toward verifying compliance and alignment—is
 permissible as long as the Executive does not unilaterally nullify Congress's duly
 enacted spending instructions. This approach aligns with the administrative flexibility




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 recognized in Anderson v. McCowan, 408 U.S. 1 (1972), which permits temporary
 withholding of funds pending further review.

 Furthermore, the Executive Order complies with the Administrative Procedure Act (5
 U.S.C. §§ 551 et seq.) by adhering to the required procedures for rulemaking, including
 providing adequate notice and opportunity for public comment where necessary, as
 interpreted in Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S.
 837 (1984).

       As Justice Scalia might quip: “Absent chaos or contradiction, the executive
       branch may, of course, carry out its constitutional duties without fretful
       second-guessing.”




 VI. POLICY IMPLICATIONS AND PUBLIC INTEREST

 Pausing federal funding to ensure compliance with statutory and policy requirements
 serves the broader public interest by safeguarding taxpayer dollars and ensuring that
 federal programs achieve their intended outcomes. This measure prevents misuse and
 misallocation of resources, which is essential for maintaining public trust in federal
 institutions. Upholding the Executive Order reinforces the principle that federal funds
 must be managed responsibly and in accordance with established legal frameworks.




 VII. ANTICIPATED COUNTERARGUMENTS AND REBUTTALS

 Opponents may argue that the Executive Order disrupts essential education programs
 and negatively impacts students relying on EANS funding. However, the temporary
 nature of the pause is designed to prevent long-term harm by addressing potential


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 compliance issues upfront. Moreover, the Executive Branch has mechanisms in place
 to expedite reviews and minimize disruptions to funding flows once compliance is
 assured.

 Additionally, some may contend that the Executive Order overreaches by encroaching
 on states' rights. However, federal funding often comes with conditions to ensure
 uniformity and adherence to national standards. The President's authority to oversee
 and adjust federal funding allocations is well-established, as affirmed by numerous
 Supreme Court decisions (Dalton v. Specter, Train v. City of New York).

      Scalia might remind us: “Federalism does not suffer from mere oversight; it
      thrives when each branch attends to its assigned role, neither more nor less.”




 VIII. CONFORMITY WITH CONSTITUTIONAL SEPARATION OF POWERS

 The Executive Order respects the constitutional separation of powers by operating
 within the President's designated authority to execute federal laws and manage
 federal funds. It does not usurp legislative power but rather ensures that executive
 actions align with the legislative intent behind federal appropriations.

      “The separation of powers is, after all, the sentinel that guards the People’s
      liberty,” Scalia would note, “not a barrier to faithful administration.”



 CONCLUSION

 In sum, the Woodcheke and Lopes declarations provide an incontrovertible
 federalism-based defense of the President's education aid freeze. If state officials can
 withhold EANS funding from individual schools based on unverified enrollment and


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 expenditures, the President indisputably has authority to briefly pause similar
 funding on a programmatic level to ensure alignment with federal law and policy.
 Such proactive fiscal oversight violates no constitutional rights and is a necessary
 safeguard for sound, accountable government spending.

 The Governor's lack of supervisory control over the CDE reinforces the necessity of
 federal oversight in funding allocation decisions. The President's authority under
 federal law provides a clear and constitutional basis for this action. Upholding the
 Executive Order ensures that federal funds are managed in a manner consistent with
 national priorities and legal mandates, thereby safeguarding the integrity and
 effectiveness of federal financial assistance programs.

 Far from being an unorthodox or imperious exercise of power, the President's pause
 and review of funds is an eminently proper safeguard against the squandering of
 public resources. It comports with the Constitution, statutory law, and established
 Supreme Court precedent. For all these reasons, The VR School respectfully urges this
 Court (and all relevant agencies) to uphold the President's authority to pause funding
 in the interests of fiscal integrity and alignment with the law.




 ADDITIONAL SUPPORTING ARGUMENTS

 IX. POLICY IMPLICATIONS AND PUBLIC INTEREST

 Pausing federal funding to ensure compliance with statutory and policy requirements
 serves the broader public interest by safeguarding taxpayer dollars and ensuring that
 federal programs achieve their intended outcomes. This measure prevents misuse and
 misallocation of resources, which is essential for maintaining public trust in federal




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 institutions. Upholding the Executive Order reinforces the principle that federal funds
 must be managed responsibly and in accordance with established legal frameworks.

 X. ANTICIPATED COUNTERARGUMENTS AND REBUTTALS

 Opponents may argue that the Executive Order disrupts essential education programs
 and negatively impacts students relying on EANS funding. However, the temporary
 nature of the pause is designed to prevent long-term harm by addressing potential
 compliance issues upfront. Moreover, the Executive Branch has mechanisms in place
 to expedite reviews and minimize disruptions to funding flows once compliance is
 assured.

 Additionally, some may contend that the Executive Order overreaches by encroaching
 on states' rights. However, federal funding often comes with conditions to ensure
 uniformity and adherence to national standards. The President's authority to oversee
 and adjust federal funding allocations is well-established, as affirmed by numerous
 Supreme Court decisions (Dalton v. Specter, Train v. City of New York).

 XI. CONFORMITY WITH CONSTITUTIONAL SEPARATION OF POWERS

 The Executive Order respects the constitutional separation of powers by operating
 within the President's designated authority to execute federal laws and manage
 federal funds. It does not usurp legislative power but rather ensures that executive
 actions align with the legislative intent behind federal appropriations.



 FINAL CONCLUSION

 Governors lack standing to challenge the Executive's temporary funding pause
 because they do not administer, oversee, or control ARP Act funding. Their role is



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 purely ministerial and ends once federal funding is secured for the State Educational
 Agency.

 As Justice Scalia wrote in Lujan v. Defenders of Wildlife, 504 U.S. 555, 573-74 (1992),
 allowing plaintiffs without a direct injury to sue would:

      "transform the federal courts into forums for generalized grievances. That is
      not the function of the judiciary."

 Accordingly, this Court should dismiss the Governors' claims for lack of standing.

 Respectfully submitted,​
 /s/ Freedom Cheteni, PhD

 THE VR SCHOOL, INTERVENOR TO GOVERNORS

 Dated: January 29, 2025

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                               CERTIFICATE OF SERVICE

 I hereby certify that on this 29th day of January, 2025, a true and correct copy of the
 foregoing Amicus Curiae Brief was served upon all counsel of record via the Court's
 electronic filing system.

 Respectfully submitted,

  THE VR SCHOOL, INTERVENOR TO GOVERNORS

 Dated: January 28, 2025

      “Thus, let it be known,” Justice Scalia would conclude, “that our
      Government’s powers serve the People’s ends. Where clarity, fidelity, and
      prudence intersect, the law so stands.”




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